


  Appeal from a judgment of the Supreme Court, Erie County (Deborah A. Haendi-ges, J.), rendered October 15, 2014. The judgment convicted defendant, upon his plea of guilty, of attempted assault in the first degree.
 

  It is hereby ordered that the judgment so appealed from is unanimously affirmed.
 

  Memorandum: Defendant appeals from a judgment convicting him upon his plea of guilty of attempted assault in the first degree (Penal Law §§ 110.00, 120.10 [1]). Contrary to defendant’s contention, the record establishes that he knowingly, voluntarily and intelligently waived his right to appeal (see generally People v Lopez, 6 NY3d 248, 256 [2006]), and that valid waiver forecloses any challenge by defendant to the severity of the sentence (see id. at 255; see generally People v Lococo, 92 NY2d 825, 827 [1998]; People v Hidalgo, 91 NY2d 733, 737 [1998]).
 

  Present—Peradotto, J.P., Carni, DeJoseph, Curran and Winslow, JJ.
 
